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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


SPTIME ZULKU,                  )
                               )
                Plaintiff,     )
                               )
          vs.                  )                       Case No. 19-cv-07838
                               )
CREDIT PROTECTION ASSOCIATION, )
L.P.,                          )
                               )                       Jury Demanded
                Defendant.     )


                                           COMPLAINT

        Plaintiff, Sptime Zulku, brings this action under the Fair Debt Collection Practices Act,

15 U.S.C. § 1692, et seq. (“FDCPA), and alleges:

                                 JURISDICTION AND VENUE

        1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA and 28 U.S.C. §

1331.

        2.     Venue is proper in this District because parts of the acts and transactions occurred

here and Defendant transacts substantial business here.

                                            STANDING

        3.     Plaintiff has suffered an injury in fact that is traceable to Defendant’s conduct and

that is likely to be redressed by a favorable decision in this matter.

        4.     Specifically, Defendant’s failure to report to a credit reporting agency that the

debt is disputed creates a “real risk of financial harm caused by an inaccurate credit rating.”

Evans v. Portfolio Recovery Assocs., LLC, 889 F.3d 337, 345 (7th Cir. 2018).




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                                             PARTIES

       5.      Plaintiff, Sptime Zulku (“Plaintiff’), is a resident of the State of Illinois, from

whom Defendant attempted to collect a delinquent debt allegedly owed for a defaulted consumer

utility account, originally owed to Commonwealth Edison Company. Plaintiff is thus a

“consumer” as that term is defined in 15 U.S.C. § 1692a(3) of the FDCPA.

       6.      Defendant, Credit Protection Association, L.P. (“CPA”), is a Texas limited

partnership. It does or transacts business in Illinois and maintains a registered agent at C.T.

Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas, 75201. (Exhibit A, Record

from Texas Secretary of State).

       7.      CPA is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.

        8.     CPA regularly collects or attempts to collect defaulted consumer debt originally

owed or due another.

        9.     CPA is thus a “debt collector” as defined at 15 U.S.C. § 1692a(6) of the FDCPA.

        10.    CPA is licensed as a collection agency in the State of Illinois. (Exhibit B, Record

from the Illinois Department of Financial and Professional Regulation).

                                  FACTUAL ALLEGATIONS

        11.    According to Defendant, Plaintiff incurred an alleged debt for goods and services

used for personal purposes, specifically for a consumer utility account originally owed to

Commonwealth Edison Company (“alleged debt”). The alleged debt is thus a “debt” as that term

is defined at § 1692a(5) of the FDCPA.

        12.    Due to his financial circumstances, Plaintiff could not pay any debts, and the

alleged debt went into default.




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        13.    CPA subsequently began efforts to collect the alleged debt.

        14.    In response to collection attempts by Defendant, Plaintiff consulted with the

attorneys at Community Lawyers Group, Ltd., who, on April 30, 2019, sent an electronic

communication to Defendant indicating that Plaintiff disputed the alleged debt. (Exhibit C,

Dispute Letter).

        15.    CPA received Plaintiff’s dispute on April 30, 2019.

        16.    Plaintiff’s letter stated, in part, that the amount reported is not accurate.

        17.    A statement that “the amount reported is not accurate” evinces the intention to

dispute the validity of at least a portion of the purported debt. Evans v. Portfolio Recovery

Assocs., LLC, 889 F.3d 337, 346 (7th Cir. 2018) (“There is simply no other way to interpret this

language.”).

        18.    On July 1, 2019, CPA communicated credit information regarding the alleged

debt to the Experian consumer reporting agency, including a balance, an account number and the

date reported. (Exhibit D, Redacted Excerpt from Plaintiff’s Experian Report).

        19.    CPA failed to communicate that Plaintiff’s alleged debt was disputed when it

communicated other information to Experian regarding the alleged debt.

        20.    CPA had been notified more than two (2) months prior of Plaintiff’s dispute.

        21.    Two (2) months is sufficient time for a debt collector to update its records. See

Herbert v. Monterey Financial Services, Inc., 863 F. Supp. 76 (D. Conn. 1994) (holding that five

days was enough time for a debt collector to update their records with information from a

consumer’s letter).

        22.    15 U.S.C. § 1692e of the FDCPA provides as follows:

               False or misleading representations




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                 A debt collector may not use any false, deceptive, or misleading
                 representation or means in connection with the collection of any debt.
                 Without limiting the general application of the foregoing, the following
                 conduct is a violation of this section:

                 . . . (8) Communicating or threatening to communicate to any person
                 credit information which is known or which should be known to be
                 false, including the failure to communicate that a disputed debt is
                 disputed. . . .

           23.   CPA failed to communicate a dispute to the Experian credit reporting agency, in

violation of 15 U.S.C. § 1692e(8), when it knew or should have known about the dispute and

communicated other information regarding the alleged debt to the credit reporting agency.

           24.   Credit reporting by a debt collector constitutes an attempt to collect a debt. E.g.,

Rivera v. Bank One, 145 F.R.D. 614, 623 (D.P.R. 1993) (a creditor’s report of a debt to a

consumer reporting agency is a “powerful tool, designed in part to wrench compliance with

payment terms from its cardholder”).

           25.   CPA materially lowered Plaintiff’s credit score by failing to note Plaintiff’s

dispute.

           26.   A debt reported with no dispute results in a much lower credit score than a report

of both the debt and the dispute. Saunders v. Branch Banking and Trust Co. of VA, 526 F. 3d

142, 146-47 (4th Cir. 2008).

           27.   Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership, 27 F.3d

1254, 1257 (7th Cir. 1994).

                  COUNT I- FAIR DEBT COLLECTION PRACTICES ACT

           28.   Plaintiff re-alleges the paragraphs above as if set forth fully in this count.




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        29.   CPA failed to communicate a dispute to the Experian credit reporting agency, in

violation of 15 U.S.C. § 1692e(8), when it knew or should have known about the dispute and

communicated other information regarding the alleged debt to Experian.

       WHEREFORE, Plaintiff respectfully asks this Court enter judgment in Plaintiff’s favor

and against Defendant as follows:


                     A.      Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2);

                     B.      Costs and reasonable attorney fees pursuant to 15 U.S.C. §
                             1692k(a)(3); and

                     C.      Such other or further relief as the Court deems proper.


                                      JURY DEMAND

                                Plaintiff demands trial by jury.


                                                   By: s/Michael J. Wood
                                                      One of Plaintiff’s Attorneys

Michael Wood
Celetha Chatman
Community Lawyers Group, Ltd.
20 N. Clark Street, Suite 3100
Chicago, IL 60602
Ph: (312) 757-1880
Fx: (312) 265-3227
cchatman@communitylawyersgroup.com




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